Case 2:22-cv-02563-JTF-cgc Document 23 Filed 03/09/23 Page 1 of 2                       PageID 113




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

NATASHA BRADFORD,

       Plaintiff,

v.

MEMPHIS ACADEMY OF
SCIENCE AND ENGINEERING                                       Case No. 2:22-cv-02563-JTF-cgc
(MASE)                                                        JURY DEMANDED

       Defendant/Third-Party
       Plaintiff;

v.

INFINISOURCE, INC. d/b/a
ISOLVED, INC.,

       Third-party Defendant.


      THIRD-PARTY DEFENDANT’S CORPORATE DISCLOSURE STATEMENT


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel

states that Third-Party Defendant isolved, Inc. f/k/a Infinisource, Inc. is a privately-held

corporation wholly owned by iSolved Holdings, Inc.

       iSolved Holdings, Inc. is a privately-held corporation wholly owned by Infinsource

Holdings, Inc.

       Infinisource Holdings, Inc. is a privately-held corporation wholly owned by iSolved

Group Holdings, LLC.

       Approximately eighty percent of iSolved Group Holdings, LLC is owned by Accel-KKR,

a private equity firm.



                                                  1
Case 2:22-cv-02563-JTF-cgc Document 23 Filed 03/09/23 Page 2 of 2                    PageID 114




       The remaining twenty percent is held by individual investors.

       There is no publicly-held parent corporation or shareholder entity that holds ten percent

or more ownership interest in isolved, Inc., f/k/a Infinisource, Inc.


Dated: March 9, 2023.                          Respectfully submitted,


                                                s/Amanda M. Garland
                                               Amanda M. Garland (TN Bar #033843)
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                                               SMOAK, & STEWART, P.C.
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                                               ATTORNEY FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of March, 2023, the foregoing document was

electronically filed with the Clerk of the Court via the Court’s ECF filing system, to be served by

operation of the Court’s electronic filing system upon the following counsel of record:


       Kristy L. Bennett                       Anthony M. Noel
       Tressa Johnson                          Laura Bassett
       Johnson & Bennett, PLLC                 Leitner, Williams. Dooley, & Napolitan, PLLC
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       Attorneys for Plaintiff                 Attorneys for Defendant/Third-
       Natasha Bradford                        Party Plaintiff Memphis Academy
                                               of Science and Engineering

                                                                 s/Amanda M. Garland
                                                                 Amanda M. Garland


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